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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


JOHN MATTHEW CHANCEY, FAIR COURTS
AMERICA, and RESTORATION PAC

                                Plaintiffs,

v.                                                Case No. 1:24−cv−04435

THE ILLINOIS STATE BOARD OF                       Honorable Martha M. Pacold
ELECTIONS; IAN LINNABARY, in his
official capacity as Chair of the Illinois
State Board of Elections; CASANDRA B.
WATSON, WILLIAM J. CADIGAN, LAURA K.              Joint Initial Status Report
DONAHUE, TONYA L. GENOVESE,
CATHERINE S. MCCRORY; WILLIAM M.
MCGUFFAGE, and RICK S. TERVEN, SR.,
in their official capacities as members of
the Illinois State Board of Elections;
KWAME RAOUL, in his official capacity
as Illinois Attorney General,

                              Defendants.


                                 INTRODUCTION

     Plaintiffs, Stephanie Scholl and Frank Bednarz, and Defendants Illinois State

Police, Brendan F. Kelly, Jay Robert Pritzker, Kwame Raoul, submit this Joint

Initial Status Report pursuant to this Court’s order of June 25, 2024. See Dkt. 8.




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1. The Nature of the Case:

  A. Identify (names and contact information) for all attorneys of record
     for each party, including the lead trial attorney.

  The parties are represented as follows:

  For Plaintiffs Stephanie Scholl and Frank Bednarz, the attorneys are:


  Reilly Stephens, Lead Attorney
  Jeffrey M. Schwab
  Liberty Justice Center
  13341 W. U.S. Highway 290
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  Austin, Texas 78737
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  For Defendants, the attorneys are:

  Mary A. Johnston
  Elizabeth Andonova Mallory
  Office of the Illinois Attorney General
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  B. Briefly describe the nature of the claims asserted in the complaint
     and any Counterclaims and/or third party claims.

  The Plaintiffs in this case challenge Illinois State Police’s Automated License

Plate Reader (“ALPR”) program, authorized and funded by the Tamera Clayton




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Expressway Camera Act, 605 ILCS 140/1 et seq. Plaintiffs contend that the use of

this surveillance program to track their movements violates the Fourth Amendment.

   C. Briefly identify the major legal and factual issues in the case.

   The major legal issue is whether the ALPR program as currently operated

constituted unreasonable search in violation of the Fourth Amendments. Plaintiffs

are not currently aware of what significant factual disputes may exist in this case,

and expect this case would likely be appropriate for summary judgment. Defendants

agree that they do not anticipate many factual issues and believe the case will be

resolved on a motion to dismiss or motion for summary judgment.

   D. State the relief sought by any of the parties.

   Plaintiffs ask this court to enjoin the implementation of the operative version of

the Tamera Clayton Expressway Camera Act, 605 ILCS 140/1 et seq., and enjoin

Defendants from operating the existing system of ALPRs to track Plaintiffs without

a warrant.

2. Jurisdiction:

   A. Identify all federal statutes on which federal question jurisdiction is
      based.

   Plaintiffs claim federal jurisdiction pursuant to 42 U.S.C. § 1983, U.S.C. § 133

1and 28 U.S.C. § 1343, as their claims arise out of the Fourth Amendment to the

United States Constitution.




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   B. If jurisdiction over any claims is based on diversity or supplemental
      jurisdiction:

   N/A

3. Status of Service: Identify any defendants that have not been served.

   All Defendants were timely served, and no Defendant claims that service was

improper.

4. Consent to Proceed Before a United States Magistrate Judge: Confirm
that counsel have advised the parties that they may proceed before a
Magistrate Judge if they consent unanimously and advise whether there is,
or is not, unanimous consent. Do NOT report whether individual parties
have so consented.

   Plaintiffs are aware they may proceed before a Magistrate Judge. There is not

unanimous consent to do so.

5. Motions:

   A. Briefly describe any pending motions.

   As of this filing, there are no pending motions.

  B. State whether the defendant(s) anticipate responding to the
complaint by filing an Answer or by means of motion.

  Defendants intend to file a combined motion to dismiss and response to Plaintiff’s
motion for preliminary injunction on September 10, 2024.


6. Status of Settlement Discussions:

   A. Indicate whether any settlement discussions have occurred;

      No settlement discussions have occurred.




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     B. Describe the status of any settlement discussions; and

        N/A

     C. Whether the parties request a settlement conference.

     As this case is a constitutional challenge to the Illinois State Police’s surveillance

program, seeking only injunctive relief, the parties do not expect that a settlement

conference would be a productive endeavor.



Proposed Case Management Schedule under Fed. R. Civ. P. 16 and 26(f)

1.      Rule 26(a)(1) Disclosures

     The parties propose to complete the Rule 26(a)(1) disclosures by October 1, 2024.

2.      Proposed Discovery Plan (Fed. R. Civ. P. 26(f)(3))

        (A) what changes should be made in the timing, form, or requirement
        for disclosures under Rule 26(a), including a statement of when initial
        disclosures were made or will be made;

     The parties propose to complete the Rule 26(a)(1) disclosures by October 1, 2024.

        (B) the subjects on which discovery may be needed, when discovery
        should be completed, and whether discovery should be conducted in
        phases or be limited to or focused on particular issues;

     The parties anticipate that some discovery may be appropriate to establish details

regarding the operation and oversight of the challenged program. The parties do not

anticipate any such discovery to be extensive, as this is a constitutional challenge for

which there may or may not be significant disputed facts.




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      (C) any issues about disclosure, discovery, or preservation of
      electronically stored information, including the form or forms in
      which it should be produced;

   The parties agree that, to the extent that discovery is necessary, they will

exchange discovery in electronic format.

      (D) any issues about claims of privilege or of protection as trial-
      preparation materials, including—if the parties agree on a procedure
      to assert these claims after production—whether to ask the court to
      include their agreement in an order under Federal Rule of Evidence
      502;

   The parties do not anticipate the necessity of any protective order at this time, but

to the extent that privilege is raised and/or either party raises a request for a

protective order, the parties agree to discuss these issues and attempt to resolve any

such disputes.

      (E) what changes should be made in the limitations on discovery
      imposed under these rules or by local rule, and what other limitations
      should be imposed; and

   None at this time.

      (F) any other orders that the court should issue under Rule 26(c) or
      under Rule 16(b) and (c).

   None.

3. Time to join other parties

   The deadline to join any other party shall be within 14 days after this Court

rules on Defendant’s Motion to Dismiss.

4. Deadline to amend the pleadings.



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   The deadline to amend the pleadings shall be within 14 days after this Court

rules on Defendant’s Motion to Dismiss.

5. Discovery deadlines

      a. Time to issue written discovery

   The parties shall issue written discovery requests within 30 days after this

Court rules on Defendant’s Motion to Dismiss. In the alternative, should the parties

agree to move forward on cross-motions for summary judgment without discovery

and with an agreed statement of facts, the parties shall set forth an agreed

statement of facts within 30 days after this Court rules on Defendant Attorney

General’s Motion to Dismiss.

      b. Close of fact discovery

   If necessary, the close of fact discovery shall be 6 months after the Court rules on

Defendant’s Motion to Dismiss.

   c. Expert discovery

   If necessary, the plaintiffs’ expert disclosures shall be due 1 month after the

closing of written discovery and defendants’ expert disclosures shall be due 1 month

after plaintiffs’ expert disclosures are served.

6. Time to file motions for summary judgment

   Dispositive motions shall be due 30 days after the close of expert discovery, and

if none, then 30 days after the close of fact discovery. In the alternative, should the




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parties agree to proceed on cross-motions for summary judgment without discovery,

then the parties shall file cross-summary judgment motions within 30 days of filing

the agreed statement of facts. In order to avoid repetitive briefing, the parties

propose the following briefing schedule:

      Plaintiffs’ motion for summary judgment: 30 days after the close of discovery
      or the parties’ filing of the agreed statement of facts

      Defendants’ combined response to Plaintiffs’ motion and cross-motion for
      summary judgment: 30 days after Plaintiffs’ motion for summary judgment

      Plaintiffs’ combined reply in support of their motion and response to
      Defendants’ motion: 30 days after Defendants’ combined response/motion

      Defendants’ reply in support of their motion for summary judgment: 30 days
      after Plaintiffs’ combined reply/response

7. Time needed for trial

   Should this case proceed to trial, the parties anticipate that trial would last no

longer than 2 days.


Respectfully submitted,

/s/ Reilly Stephens
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